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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA


   UNITED STATES OF AMERICA, ex               )
   rel. Chris Phillips, et al.,               )
                                              )
                        Plaintiffs,           )
                                              )
   v.                                         ) Case No. 14-CIV-567-CVE-PJC
                                              )
   STEPHEN LAFRANCE HOLDINGS,                 )
   INC., et al.,                              )
                                              )
                        Defendants.           )


                                 ENTRY OF APPEARANCE

         COMES NOW Stuart P. Ashworth, of the law firm Holden & Montejano, and hereby

  enters his appearance as attorney of record for the Walgreen Company, Inc. In conformity

  with 12 OS §2005(B), the undersigned, and the firm, DO NOT consent to receive pleadings,

  motions or discovery by electronic or facsimile transmission.

         Dated this 19th day of June, 2018.

                                              Respectfully submitted,

                                              HOLDEN & MONTEJANO

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                                 CERTIFICATE OF SERVICE
         I hereby certify that on January 19, 2018, I electronically transmitted the attached
  document to the Clerk of Court using the ECF System for filing. Based on the records
  currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the
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